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HASBANI & LIGHT, P.C.
450 Seventh Avenue, Suite 1408
New York, New York 10123
(212) 643-6677
Danielle Light, Esq.
Counsel for Plaintiff Morris Family Investment Group, LLC

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
MORRIS FAMILY INVESTMENT GROUP, LLC,                                    Case No.: 1:22-cv-105 (LEK/CFH)
                                                                        COMPLAINT
                                            Plaintiff,

                          -against -

NY REAL ESTATE MANAGEMENT LLC, JOHN
DOE and JANE DOE, the last two names being
fictitious, it being intended to name all other parties who
may have some interest in or lien upon the premises
described in the complaint,
                                             Defendants.
--------------------------------------------------------------------X

        Morris Family Investment Group, LLC (“Morris Family” or “Plaintiff”) by its attorneys

Hasbani & Light, P.C., hereby alleges upon information and belief.

                                       NATURE OF THE ACTION

        1.       This is an action brough pursuant to New York Real Property Actions and

Proceedings Law, Section 1301 et seq., to foreclose on a mortgage encumbering the property

commonly known as Hervey Sunshine Road and Sunshine Road, East Durham NY 12423 known

on the Greene County Tax Map as Parcel No. 65.00-1-10.1 in the County of Greene and State of

New York (the “Property”).

                                                   PARTIES

        2.       Morris Family is a limited liability company organized under the laws of the state

of Arizona with its members residing in Arizona.

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        3.      NY REAL ESTATE MANAGEMENT LLC (“NY Real Estate”), upon information

and belief, is a single member limited liability company organized under the law of the State of

New York. NY Real Estate is a necessary party defendant to this action because it is the owner of

the record of the Property and the obligor under the terms of the Note.

        4.      Defendants, “JOHN DOE” and “JANE DOE”, are additional parties being the

tenants, occupants, persons, or corporation, if any, having or claiming an interest in or lien upon

the Property. See NYRPAPL §§ 1311, 1312 and 1313.

        5.      Each of the above-named defendant(s) has or claimed to have or may claim to have

some interest in or lien upon said mortgaged premises or some part thereof, which interest or lien,

if any, has accrued subsequent to, and is subject and subordinate to, the lien of said Mortgage.

                                   JURISDICTION AND VENUE

        6.      This Action is between citizens of different states. The amount in controversy,

exclusive of interest and costs, exceeds $75,000.00. Therefore, jurisdiction is based upon diversity

of citizenship pursuant to 28 U.S.C. § 1332.

        7.      Venue is deemed proper in this district pursuant to 28 U.S.C. § 1391. A substantial

part of the events giving rise to this action took place within the jurisdiction of this court and the

Property is located in this district.

                          AS AND FOR A FIRST CAUSE OF ACTION

        8.      On or about October 13, 2020, NY Real Estate, executed and delivered to Morris

Family Investment Group, LLC c/o Funding Rush, Inc. (the “Lender”) a Note evidencing a loan

made to Lender in the principal amount of three hundred ninety-nine thousand dollars and zero

cents ($399,000.00) with interest as provided therein. See Exhibit A.




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       9.     On or about October 13, 2020, NY Real Estate executed and delivered to Morris

Family Investment Group, LLC c/o Funding Rush, Inc. a mortgage evidencing a loan made to

Lender in the principal amount three hundred ninety-nine thousand dollars and zero cents

($399,000.00) with interest mortgaging the Property as collateral security for the Note. See

Exhibit B.

       10.    The mortgage was duly recorded in the Greene County City Register on March 30,

2021 with Document #M2021-1354.

       11.    Pursuant to the Mortgage, in any lawsuit for foreclosure, the Lender or its

successors or assigns possesses the right to collect all costs and disbursements and additional

allowances allowed by the applicable law and will have the right to add all reasonable attorneys’

fees to the amount NY Real Estate owes Lender or its successor-in-interest which fees shall

become part of the sums secured. See Exhibits A and B.

       12.    Plaintiff is the current owner of the Note by virtue of its physical possession of the

wet-ink Consolidated Note. Therefore, Plaintiff is the holder and owner of both the Note and

Mortgage on the date of the filing of this complaint. See Exhibits A and B.

       13.    NY Real Estate defaulted under the terms of the Note and Mortgage for the payment

due on May 1, 2021 (the “Default”). See Exhibits A and B.

       14.    Under the terms and conditions of the Note and Mortgage, the unpaid principal

balance is $398,924.97, plus all other fees and charges that may apply pursuant to the Mortgage.

       15.    During the pendency of this action, Plaintiff, in order to protect the lien of the

Mortgage, may be compelled to pay sums due on prior mortgages, insurance premiums, tax

assessments, water rates, sewer rates, and other expenses or charges affecting the Property

described and Plaintiff prays that any such amounts so paid and so extended during the pendency



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of this action may be added to its claim and repaid from the proceeds of the sale of the Property

together with interest thereon, from the date of making such expenditures, so that the same may

be added to, and secured by, the Note and Mortgage.

       16.     The Note and Mortgage contain provisions entitling Plaintiff to recover attorneys’

fees incurred in the prosecution of this action.

       17.     No other action is now pending at law or otherwise for the foreclosure of said

Mortgage, or to recover the amount due under the Note.

       18.     Each of the above-named defendant(s) has or claims to have some interest in or lien

upon the Property or some part thereof, which interest or lien, if any, has accrued subsequent to,

and is subject and subordinate to, the lien of the Mortgages.

       WHEREFORE, the Plaintiff demands judgment that the defendants herein as follows:

       a)      that all persons claiming under them or any or either of them subsequent to the

commencement of this action may be forever barred and foreclosed of all right, claim, lien and

equity of redemption in the said Property; that the said premises may be decreed to be sold

according to law in “as is” physical order and condition, subject to any covenants, easements,

restrictions and reservations of record; any violations of record; any state of facts an accurate

survey may show; any zoning regulations or amendments thereto; rights of tenants or persons in

possession of the subject premises; any prior mortgage liens of record; any prior lien of record; and

any advances or arrears hereunder; that this Court forthwith appoint a receiver of the rents and

profits of said premises, during the pendency of this action with the usual powers and duties; that

monies arising from the sale may be brought into court; that plaintiff may be paid the amount due on

said note and mortgage with interest to the time of such payment, attorney’s fees, as set forth in the

mortgage, the costs of this action and the expenses of said sale so far as the amount of such monies



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properly applicable thereto will pay the same; and the application of the proceeds pursuant to the

provisions contained in such judgment, the amount thereof to be determined by the Court as

provided in Section 1371 of the Real Property and Proceedings Law;

       b)      together with Plaintiff’s costs and attorneys’ fees, and such other and further relief

as this Court shall deem just and proper.

Dated: February 3, 2022
       New York, New York

                                             By:       /s/ Danielle Light
                                                       Danielle Light, Esq.
                                                       Attorneys for Plaintiff
                                                       450 Seventh Avenue, Ste 1408
                                                       New York, New York 10123
                                                       dlight@hasbanilight.com
                                                       Tel: 212.643.6677




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